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15
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                         WESTERN DIVISION
17
     YONNEDIL CARROR TORRES;                     No. CV 20-4450- CBM-PVCx
18   VINCENT REED; FELIX SAMUEL
     GARCIA; ANDRE BROWN; and                    RESPONDENTS’ REPLY IN SUPPORT
19   SHAWN L. FEARS, individually and            OF MOTION TO DISMISS
     on behalf of all others similarly
20   situated,                                   Hearing Date:   August 4, 2020
                                                 Hearing Time:   10:00 a.m.
21              Plaintiff-Petitioners,           Ctrm:           8B
22                    v.
                                                 Honorable Consuelo B. Marshall
23   LOUIS MILUSNIC, in his capacity as          United States District Judge
     Warden of Lompoc; and MICHAEL
24   CARVAJAL, in his capacity as
     Director of the Bureau of Prisons,
25
                Defendant-Respondents.
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27
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 1   I.    INTRODUCTION
 2         Since Petitioners filed their Complaint on May 16, 2020, the number of COVID-
 3   19 cases has nearly tripled across the nation, the number of deaths has nearly doubled,
 4   the number of cases in California has increased five-fold, and the number of deaths in
 5   California has more than doubled.
 6                      Cases in USA       Deaths in USA     Cases in CA        Deaths in CA
 7    May 16, 2020 1    1,412,121          85,990            74,936             3,108
 8    July 21, 2020     3,850,134 2        141,158           397,538 3          7,694 4
 9    % increase        + 272.65%          +164.16%          + 522.50%          +247.55%
10
11   In contrast, USP Lompoc currently reports 12 inmate COVID-19 cases and FCI
12   Lompoc reports 0. See https://www.bop.gov/coronavirus/ (last accessed July 21, 2020).
13   There is no place in the United States safe from COVID-19. Transferring inmates into
14   the community will not insulate them from risks associated with the disease.
15         Petitioners’ habeas and Eighth Amendment claims are subject to dismissal for
16   being inadequately plead. In addition, Petitioners fail to meet the standard for obtaining
17   injunctive relief. They must demonstrate that “prison authorities’ current attitudes and
18   conduct” meet the “high legal standard” of deliberate indifference, and will continue to
19   do so in the future. Toguchi v. Chung, 391 F.3d 1051, 1060 (9th Cir. 2004) (emphasis
20   added); Farmer v. Brennan, 511 U.S. 825, 845 (1994). Petitioners’ own allegations, and
21   those facts of which the Court may take judicial notice, demonstrate that the BOP has
22   taken reasonable measures. The reasonableness of these measures is reflected in the fact
23   that while the number of COVID-19 cases within the United States and California
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25         1
             All May 16, 2020 figures are from the Complaint, ¶ 21.
           2
26           Current nationwide figures are from Coronavirus Resource Center: COVID-19 Dashboard,
     John Hopkins Univ. & Med., https://coronavirus.jhu.edu/map.html (last accessed July 21, 2020)
27         3
             https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx#COVID-
     19%20by%20the%20Numbers (last accessed July 21, 2020)
28         4
             Id.
                                                    1
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 1   continues to skyrocket, the number of positive cases and the number of inmates housed
 2   within FCC Lompoc has been decreasing. Furthermore, Respondents respectfully
 3   contend that the Court’s finding of habeas jurisdiction in its Order Granting Preliminary
 4   Injunction (Dkt. No. 45) was in error because it relied on out-of-Circuit cases rather than
 5   binding Supreme Court and Ninth Circuit cases. Thus, the Complaint should be
 6   dismissed.
 7   II.   ARGUMENT
 8         A.     Petitioners’ Habeas Claim Should be Dismissed
 9                1.     Petitioners Do Not Assert A Cognizable Habeas Claim
10         Petitioners’ habeas claims do not actually seek habeas relief. Petitioners should
11   not be permitted to relabel a conditions of confinement claim as a habeas claim to
12   circumvent the PLRA. In Nettles v. Grounds, 830 F.3d 922, 927 (9th Cir. 2016), the
13   Ninth Circuit clarified that “[c]hallenges to the validity of any confinement or to
14   particulars affecting its duration are the province of habeas corpus; requests for relief
15   turning on circumstances of confinement may be presented in a § 1983 action.” Nettles
16   noted that civil rights claims are the exclusive vehicle for suits about prison life outside
17   the core of habeas and that “[i]t would fully frustrate congressional intent to hold that
18   prisoners could evade the requirements of the PLRA by the simple expedient of putting a
19   different label on their pleadings.” Id. at 932. Petitioners’ attempt to relabel their
20   conditions of confinement claims as habeas claims to avoid PLRA exhaustion
21   requirements is precisely what the Ninth Circuit criticized in Nettles.
22         Unlike a core habeas claim, Petitioners’ allege that the conditions at FCC Lompoc
23   are dangerous because of COVID-19 and the BOP’s alleged inadequate response to the
24   pandemic. The Complaint is replete with references to Lompoc’s allegedly inadequate
25   conditions. See e.g., Compl. at 38:16-17 and 38:24-25. Under the habeas heading of their
26   Complaint, Petitioners allege, “Because of the conditions at Lompoc, Petitioners and
27   Class members cannot take steps to protect themselves.” Compl. at 43:16-17.
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 1   Petitioners’ own allegations illustrate that their habeas claim is really a conditions of
 2   confinement claim.
 3         Petitioners’ authority is not persuasive. Unlike Wilson v. Williams and Martinez
 4   Brooks v. Easter, Petitioners are not arguing that no set of conditions would be sufficient
 5   to protect them from COVID-19; in fact, they are arguing for better conditions and set
 6   forth specific demands for sanitation supplies and masks. Compl. at 47-48. Petitioners’
 7   reliance on Calderon v. Barr, 2020 WL 2394287 at *3-4 (E.D. Cal. May 12, 2020) is
 8   misplaced as Calderon supports Respondents’ position. Calderon stated that the
 9   immigration detainee’s “COVID-19 action is essentially a conditions of confinement
10   civil rights action contained within a 28 U.S.C. 2241 habeas wrapper” and warned
11   against “the risk of turning 28 U.S.C. 2241 into a general civil rights statute by the mere
12   expedient of a petitioner seeking that release remedy, perhaps among other remedies, in
13   every habeas action in which conditions of confinement are at issue[.]”
14         As noted in the Motion (at 6:15-7:5), the vast majority of courts that have
15   considered habeas claims in the COVID-19 prison context have found that complaints
16   concerning conditions of confinement are not habeas claims despite being titled as such.
17   Petitioners do not even attempt to distinguish any of the cases cited in the Motion,
18   thereby conceding they should control here. Permitting Petitioners claims to proceed
19   with their habeas claim is inconsistent with the weight of authority, and would, as the
20   Castillo v. Barr court noted, encourage litigants to seek habeas relief for any purported
21   violation of civil rights so as to evade the PLRA’s requirements. See also Wilson v.
22   Ponce, Case No. CV 20-4451-MWF at Dkt. No. 58 at 9 (holding that habeas relief
23   sought is a “prisoner release order” governed by and barred by the PLRA).
24                2.      The BOP’s Inmate Placement Determinations Are Not Reviewable
25         Petitioners argue that the BOP’s home confinement evaluation process is
26   unconstitutionally restrictive. Opp., 10:20-11:4. Although Petitioners disagree with the
27   BOP’s home confinement decisions, the BOP has sole discretion over inmate placement
28   decisions. 18 U.S.C. §§ 3621(b), 3625. See also Reeb v. Thomas, 636 F.3d 1124, 1126-
                                                   3
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 1   28 (9th Cir. 2011). Nothing in the CARES Act limits or proscribes the BOP’s sole
 2   discretion as to inmate placement decisions, nor does anything in the CARES Act
 3   require that the BOP release Petitioners.
 4         Petitioners again ignore the binding authority cited in the Motion. Petitioners
 5   instead rely on Farmer v. Brennan, 511 U.S. 825 (1994), which is inapposite for several
 6   reasons. First, Farmer was not a habeas case, but an Eighth Amendment case that
 7   resolved the issue of inconsistent tests for what constituted deliberate indifference. Id. at
 8   832. Second, Farmer did not analyze the BOP’s unreviewable discretion in making
 9   inmate placement decisions or 18 U.S.C. § 3621. Third, although the petitioner in
10   Farmer had initially sought an order requiring the BOP to place her in a co-correctional
11   facility, she subsequently dropped that request for relief. Id. at 831, n.1. Fourth, although
12   the Farmer petitioner had sought an injunction barring future confinement in any
13   penitentiary, the Supreme Court did not address or grant that relief and remanded to the
14   district court for further proceedings on the Eighth Amendment claim.
15         Although Petitioners continue to repeat selected language from the Attorney
16   General’s March 26 and April 3 memoranda, they ignore that the these memoranda also
17   require that the BOP must be mindful of public safety in making individualized home
18   confinement evaluations. The Attorney General’s April 3, 2020 Memorandum states:
19         The last thing our massively over-burdened police forces need right now is
20         the indiscriminate release of thousands of prisoners onto the streets without
21         any verification that those prisoners will follow the laws when they are
22         released, that they have a safe place to go where they will not be mingling

23         with their old criminal associates, and that they will not return to their old

24         ways as soon as they walk through the prison gates. Thus, while I am
           directing you to maximize the use of home confinement at affected
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           institutions, it is essential that you continue making the careful,
26
           individualized determinations BOP makes in the typical case. Each inmate
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                                                   4
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 1         is unique and each requires the same individualized determinations we have
 2         always made in this context.
 3   See April 3, 2020 Memorandum at Page 3. Petitioners assert that committing a sex crime
 4   or a violent crime should not be a barrier to transfer to home confinement (Opp. at
 5   10:21-11:6) and seek to override the BOP’s sole authority to make individualized
 6   determinations as to suitability for home confinement. However, there is no legal
 7   authority to do so.
 8                3.       Exhaustion Should Not Be Waived
 9         Given that Petitioners can utilize the compassionate release process under 18
10   U.S.C. § 3582(c)(1)(A) (and the Opposition acknowledges some already have at 14:11-

11   21) it is disingenuous for Petitioners to argue that they should be excused from

12   exhaustion requirements under the PLRA or otherwise. Moreover, Petitioners’ assertion

13   that COVID-19 is “spreading like wildfire” is contradicted by current data. Petitioners do

14   not even contend that they even attempted to utilize the BOP administrative process.

15   Respondents incorporate their arguments regarding exhaustion in Section B.2, infra.

16         B.     Petitioners’ Eighth Amendment Claims Should Be Dismissed
17                1.       Petitioners Have Not Sufficiently Alleged Deliberate Indifference

18                         a.    Petitioners Have Not Plead that They Are Subject to an
                                 Unreasonable Risk of Harm
19
           As noted above, since May 16, 2020, the number of COVID-19 cases has nearly
20
     tripled across the nation, the number of deaths has nearly doubled, the number of cases
21
     in California has increased five-fold, and the number of deaths in California has more
22
     than doubled. These numbers belie Petitioners’ argument that “[w]hile society has
23
     chosen to implement protective rules to prevent the spread of COVID-19, prisoners are
24
     forced to live in conditions that dramatically increase not only their risk of contracting a
25
     COVID-19 infections, but also their risk of dying from a COVID-19 infection.” See
26
     Opp. at 16:15-19. These “protective rules” have not slowed, let alone prevented, the
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 1   spread of the coronavirus, as the rates of infection and deaths continue to soar
 2   nationwide and in California.
 3          In contrast, the numbers of positive cases at FCC Lompoc have decreased and
 4   stabilized, as it currently reports 12 inmate and two staff cases of COVID-19. These
 5   statistics show that the BOP has not been deliberately indifferent to the inmates’ needs at
 6   FCC Lompoc, and that the BOP has not denied Petitioners “the minimal civilized
 7   measure of life’s necessities” in addressing the harm COVID-19 presents in its prisons,
 8   including at FCC Lompoc. Wilson v. Seiter, 501 U.S. 294, 298 (1991). Petitioners cannot
 9   show that they are incarcerated under conditions posing a substantial risk of harm as the
10   ravages from COVID-19 expose everyone—prisoner and non-prisoner alike. See
11   Farmer, 511 U.S. at 837; id. at 844 (“A prison official’s duty under the Eighth
12   Amendment is to ensure reasonable safety.”); see also Hallinan, 2020 WL 3105094, at
13   *6 (no Eighth Amendment violation even though the facility “reported 19 inmate deaths
14   and 664 active inmate and staff infections at FCC-Butner”).
15          Petitioners also fault the BOP for not decreasing the population of FCC Lompoc,
16   but they fail to acknowledge that its population has decreased from 2,680 (Compl. ¶ 2) to
17   2,438, a decrease of 242 inmates or a 9% population reduction. 5 Even without the
18   Court’s intervention, the BOP is taking its obligation to combat COVID-19 seriously,
19   including by reducing its prison population. That the BOP has not released as many
20   people as Petitioners would like does not indicate an Eighth Amendment violation. See
21   Hallinan, 2020 WL 3105094, at *16 (“the fact that respondents have not ‘maximized’
22   use of home confinement and other release provisions to reduce the FCC-Butner
23   population does not establish an Eighth Amendment violation”).
24          Petitioners cannot satisfy the objective component of an Eighth Amendment
25   violation. Indeed, the only case cited by Petitioners on this point is a district court
26   opinion issued early in the COVID-19 pandemic, Martinez-Brooks v. Easter, 2020 WL
27          5
              https://www.bop.gov/locations/institutions/lom/ and
28   https://www.bop.gov/locations/institutions/lof/ (last accessed July 21 2020).
                                                        6
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 1   2405350 (D. Conn. May 12, 2020). See Opp. at 17:11-12. 6 But Martinez-Brooks should
 2   not persuasive here because, among other things, it was premised upon the proposition
 3   that the inability to stay six feet apart at all times was a per se Eighth Amendment
 4   violation, which has been squarely rejected by other courts such as Wragg v. Ortiz, 2020
 5   WL 2745247 at *22. Moreover, Martinez Brooks noted the factual dispute over
 6   conditions precluded the court from making a finding on deliberate indifference and the
 7   court denied the TRO on the Eighth Amendment claim. 2020 WL 2405350 at *29.
 8   Respondents request that the Court find that compliance with CDC recommendations,
 9   including “access to soap, tissues, gloves, masks, regular cleaning, signage and
10   education, quarantine of new prisoners, and social distancing during transport” satisfies
11   the objective component of the Eighth Amendment. Valentine, 956 F.3d at 801-02;
12   Chunn v. Edge, 2020 WL 3055669, at *1 (E.D.N.Y. Jun. 9, 2020) (“Rather than being
13   indifferent to the virus, MDC officials have recognized COVID-19 as a serious threat
14   and responded aggressively.”); Grinis v. Spaulding, 2020 WL 2300313, at *3 (D. Mass.
15   May 8, 2020) (“Both the BOP and FMC Devens have made significant changes in
16   operations in response to COVID-19.”).
17                         b.     Petitioners Have Not Sufficiently Alleged the Subjective Prong
18                                of the Deliberate Indifference Test
19          The Complaint acknowledges the many steps that the BOP took to address
20   COVID-19, including mass testing, the provision of masks to inmates and correctional
21   officers, and the cohorting and quarantining of inmates. See MTD at 3:2-4:9. Despite
22   acknowledging (in no less than 20 places) the efforts the BOP has undertaken at
23   Lompoc, Petitioners hyperbolically mischaracterize Respondents actions as an
24   “unprecedented failure to control or even slow the outbreak in any way, shape, or
25          6
              The other cases cited by Petitioners did not involve convicted prisoners. See Fraihat v. U.S.
26   Immigration and Customs Enforcement, 2020 WL 1932570, at *1 (C.D. Cal. Apr. 20, 2020) (involving
     immigration detainees); Basank v. Decker, 2020 WL 1481503, at *1 (S.D.N.Y. Mar. 26, 2020) (same).
27   The Eighth Amendment does not apply to immigration detainees. See Cameron, 2020 WL 3867393, at
     *4 (“For prisoners incarcerated following a conviction, the government’s obligation arises out of the
28   Eighth Amendment’s prohibition on cruel and unusual punishment.”) (citation omitted).
                                                       7
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 1   form. 7” Opp. 22:14-15. However, COVID-19 prison jurisprudence is clear that there is
 2   no Eighth Amendment deliberate indifference claim where prison officials respond
 3   reasonably to this novel pandemic and have held that efforts identical to what the BOP
 4   has done at FCC Lompoc do not constitute deliberate indifference. MTD at 15:1-16:26.
 5   See Swain v. Junior, –F.3d–, 2020 WL 3167628, at *6 (11th Cir. Jun. 15, 2020) (no
 6   Eighth Amendment liability if prison officials respond reasonably to a risk to inmate
 7   health, “even if the harm ultimately was not averted”); Wilson v. Williams, –F.3d–, 2020
 8   WL 3056217 at *7-8 (6th Cir. Jun. 9, 2020) (no tenable Eighth Amendment claim where
 9   BOP had responded reasonably to the risk of COVID-19 at FCI Elkton by implementing
10   the same BOP Action Plan used at FCC Lompoc); Valentine v. Collier, 956 F.3d 797,
11   801 (5th Cir. 2020) (“after accounting for the protective measures [the prison] has taken,
12   the Plaintiffs have not shown a substantial risk of serious harm that amounts to cruel and
13   unusual punishment”). Petitioners do not attempt to explain why the three circuit-level
14   decisions are distinguishable, thereby conceding that they should be controlling here.
15          Petitioners also contend that Chunn and Grinis are distinguishable because of the
16   number of inmates infected. Opp. at 22:22-23:11. This factual difference, however, is not
17   determinative because numerous courts have found that whether the harm is averted or
18   not does not make an Eighth Amendment violation. See MTD at 14:15-18. Finally, as
19   stated above, Hallinan found no Eighth Amendment violation even though there had
20   been 19 inmate deaths from COVID-19. 2020 WL 3105094, at *6.
21          In short, Petitioners cannot show that BOP officials had a “sufficiently culpable
22   state of mind,” that they “kn[ew] of and disregard[ed] an excessive risk to inmate health
23   or safety,” and acted with “the unnecessary and wanton infliction of pain.” Farmer, 511
24
            7
25             Petitioners inflammatorily suggest that Mamadou Kaba’s death was a COVID-19 death and
     that the BOP’s investigation into the cause of his death is tantamount to “refusing to disclose the cause
26   of death or to even state that it was not due to COVID-19.” Opp., 21 at 9-14. Petitioners also
     mischaracterize Judge Fitzgerald’s Order Denying Temporary Restraining Order as making a finding
27   regarding deliberate indifference and do not mention that Judge Fitzgerald denied, in part, their second
     attempt to obtain a TRO at Terminal Island, and has instead ordered that a neutral assess the conditions
28   at FCI Terminal Island before ruling on the Eighth Amendment claim. See Wilson v. Ponce, DE 58 at
     12-13.
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 1   U.S. at 833, 837; Whitley v. Albers, 475 U.S. 612, 619 (1986) (citation omitted).
 2   Petitioners cannot show that the BOP acted with “obduracy and wantonness,” as opposed
 3   to “inadvertence or error in good faith, that characterize the conduct prohibited by the
 4   Cruel and Unusual Punishments Clause.” Wilson, 501 U.S. at 299. Nor can Petitioners
 5   show that that the BOP’s “current attitudes and conduct” amount to reckless disregard.
 6   See Toguchi, 391 F.3d at 1060. To the contrary, Petitioners admit that the BOP
 7   “[a]ttempted to ‘solve’ the overcrowding and communal housing issues”; conducted
 8   testing; and considered home confinement for some inmates. Opp. at 18:26-19:23; see
 9   also MTD at 3:8-4:9. Respondents recognize that Petitioners are dissatisfied with these
10   efforts, but dissatisfaction does not rise to an Eighth Amendment violation. Indeed,
11   nearly all federal courts have concluded that an Eighth Amendment violation could not
12   lie where prison officials responded reasonably to the COVID-19 crisis with steps
13   substantially similar to what the BOP has done at FCC Lompoc.
14         For these reasons, Petitioners’ Eighth Amendment claim should be dismissed.
15                2.     The Eight Amendment Claims Should Be Dismissed Because
16                       Petitioners Have Failed to Satisfy PLRA Exhaustion Requirements
17         Petitioners seek to avoid dismissal by ignoring the cases in the COVID-19 context
18   holding that exhaustion under the PLRA is required before inmates may bring suit
19   concerning prison conditions. See e.g., Valentine, 956 F.3d at 805 (rejecting inmates’
20   exhaustion arguments and noting that administrative “relief by [the prison] remains
21   possible (and the procedure available), even if [the prison] has not acted as swiftly as
22   Plaintiffs would like”); Swain, 2020 WL 3167628, at *1; Wragg, 2020 WL 3074026, at
23   *2 (D.N.J. Jun. 10, 2020).
24         Petitioners cite Jones v. Bock, 549 U.S. 199, 216 (2007) for the proposition that
25   exhaustion is an affirmative defense. Opp. at 25:6-9. Jones, however, noted that if
26   grounds for dismissal appears on the face of a complaint, it is still subject to dismissal
27   under Fed. R. Civ. P. 12(b)(6) and that its holding “is not to say that failure to exhaust
28   cannot be a basis for dismissal for failure to state a claim.” Jones, 549 U.S. at 216.
                                                   9
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 1   Moreover, an inmate’s concession as to nonexhaustion is a valid ground for dismissal so
 2   long as no exception to exhaustion applies and a court may even dismiss an action sua
 3   sponte for failure to exhaust administrative remedies. Govind v. Cash, 2013 WL
 4   5220809 at *7 (C.D. Cal. Sept. 10, 2013). The cases Petitioners cite do not support the
 5   proposition that administrative remedies are not available at FCC Lompoc. Sapp v.
 6   Kimbrell, 62 F.3d 813, 826 (9th Cir. 2010), held that the prison’s screening of the
 7   prisoner’s grievance was proper, administrative remedies were available, and the
 8   prisoner’s suit was barred by failure to exhaust under the PLRA. See Opp. at 24:6-14.
 9   Petitioners also quote Justice Sotomayor’s statement made in connection with the
10   Court’s denial of an application to stay a preliminary injunction in Valentine v. Collier,
11   140 S. Ct. 1598, 1601 (2020). Opp. at 24:23-25:3. Justice Sotomayor’s statement is not a
12   holding and merely states that it is possible that grievance procedures could constitute a
13   dead-end such that exhaustion is not required.
14         Although Petitioners contend that that they have adequately alleged that
15   administrative remedies are unavailable (id. at 19:18-20:6), their allegations do not
16   support this contention. There is four-tiered administrative remedy process available. 28
17   C.F.R. §§ 542.10-542.19. Petitioners have not alleged that they ever requested an
18   informal resolution related to the administrative remedy process and were denied.
19   Inmates are automatically considered for referral to home confinement, whether inmates
20   specifically request it or not. See Dkt. No 25 at 32:11-13. To suggest that the BOP’s
21   automatic consideration of inmates for referral to home confinement means that
22   exhaustion as to prison conditions is unavailable (so as to circumvent PLRA exhaustion
23   requirements) is unavailing. None of the named Petitioners alleges he sought to pursue
24   the formal administrative remedy process and that FCC Lompoc interfered with that
25   attempt, rendering administrative remedies “effectively unavailable.”
26         Petitioners’ admitted failure to satisfy the exhaustion requirement under the PLRA
27   is another reason why their Eighth Amendment claims should be dismissed.
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                                                 10
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 1   III.   CONCLUSION
 2          For the foregoing reasons, the Respondents respectfully request that the Court
 3   dismiss Petitioners’ Complaint.
 4    Dated: July 21, 2020                     Respectfully submitted,
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 6                                             DAVID M. HARRIS
                                               Assistant United States Attorney
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